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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
                         )
             v.          )                         Case No. 21-CR-00188-RDM
                         )
PAUL ALLARD HODGKINS     )
                         )
            Defendant.   )

                        NOTICE OF APPEARANCE OF COUNSEL


To:   The clerk of court and all authorized parties of record

      I am authorized to practice in this Court pursuant to LCvR 83.2(g) and LCrR 44.5(a); and

      I appear in this case as the only current counsel for Defendant Paul Allard Hodgkins.



Dated August 30, 2021                               Respectfully submitted,


                                                    /s/ Carolyn A. Stewart
                                                    Carolyn A. Stewart, FL Bar No. 1205715
                                                    Defense Attorney
                                                    Stewart Country Law PA
                                                    1204 Swilley Rd.
                                                    Plant City, FL 33567
                                                    Tel: (813) 659-5178
                                                    Email: Carolstewart_esq@protonmail.com
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                               CERTIFICATE OF SERVICE

       On this 30th day of August 2021, a copy of the foregoing was served upon all parties as

forwarded through the Electronic Case Filing (ECF) System.


                                                           /s/ Carolyn A. Stewart
                                                           Carolyn A. Stewart
                                                           Defense Attorney
